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COUNSEL FOR HIGHLAND CAPITAL MANAGEMENT
FUND ADVISORS, L.P. AND NEXPOINT ADVISORS, L.P.

                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 In re:                                          §
                                                 §
                                                                     Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                    §
 L.P.                                            §
                                                             Case No. 19-34054-sgj11
                                                 §
          Debtor.                                §
                                                 §
 HIGHLAND CAPITAL MANAGEMENT,                    §
 L.P.,                                           §
                                                 §
          Plaintiff,                             §
                                                 §
 v.                                              §             Adv. No. 21-03010-sgj
                                                 §
 HIGHLAND CAPITAL MANAGEMENT                     §
 FUND ADVISORS, L.P. and NEXPOINT                §
 ADVISORS, L.P.,                                 §
                                                 §
          Defendants.                            §

                                JOINT NOTICE OF APPEAL

          COME NOW NexPoint Advisors, L.P. and Highland Capital Management Fund Advisors,

L.P. (together, the “Advisors”), the defendants in the above styled and numbered Adversary

Proceeding, and, pursuant to 28 U.S.C. § 158(a), hereby appeal to the United States District Court

for the Northern District of Texas that certain Judgment (“Judgment”) entered by the Bankruptcy

Court on September 14, 2022 at docket no. 126.


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       A copy of the Judgment is attached hereto as Exhibit “A.”

       The names of the parties to the Order, their roles in the appeal, and the contact information

for their counsel are as follows:

1.     Appellants:

               NexPoint Advisors, L.P.
               Highland Capital Management Fund Advisors, L.P.

                       Attorneys:

                       Davor Rukavina
                       Julian P. Vasek
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2.     Appellee:

               Highland Capital Management, L.P.

               Attorneys:

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                       -and-




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         RESPECTFULLY SUBMITTED this 20th day of September, 2022.

                                                   MUNSCH HARDT KOPF & HARR, P.C.

                                                   By: /s/ Davor Rukavina
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                                                   ATTORNEYS FOR NEXPOINT ADVISORS,
                                                   L.P. AND HIGHLAND CAPITAL
                                                   MANAGEMENT FUND ADVISORS, L.P.




                                       CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on the 20th day of September, 2022, true and correct
copies of this document, including any exhibit(s), were electronically served via the Court’s
CM/ECF system on all parties entitled to such notice, including counsel for the appellee.

                                                   By: /s/ Davor Rukavina
                                                          Davor Rukavina, Esq.




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The following constitutes the ruling of the court and has the force and effect therein described.




Signed September 13, 2022
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                                                      §
         In re:                                                           Chapter 11
                                                                      §
                                                                      §
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                      §   Case No. 19-34054-sgj11
                                                                      §
                                         Reorganized Debtor.
                                                                      §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                                                                      §
                                         Plaintiff,                   §   Adversary Proceeding No.
                                                                      §
         vs.                                                          §   21-03010-sgj
                                                                      §
         HIGHLAND CAPITAL MANAGEMENT FUND                             §
         ADVISORS, L.P., AND NEXPOINT ADVISORS,                       §
         L.P.,                                                        §
                                                                      §
                                         Defendants.                  §


                                                          JUDGMENT




     1
      The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
     service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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        This matter having come before the Court following the consolidation of (a) certain breach

of contract claims asserted by Highland Capital Management, L.P. (“Highland” or “Plaintiff”)

against Highland Capital Management Fund Advisors, L.P. (“HCMFA”) and NexPoint Advisors,

L.P. (“NexPoint” and together with HCFMA, the “Defendants,” and Plaintiff and Defendants

together, the “Parties”) in the above-referenced adversary proceeding (the “Adversary

Proceeding”), with (b) the administrative expense claims asserted by HCMFA and NexPoint

against Highland in the Application for Allowance of Administrative Claim [Main Docket No.

1826]; 2 and the Court having held an evidentiary hearing on April 12 and 13, 2022 (the “Trial”)

and considered (a) Defendants’ arguments and contentions set forth in the Advisors’ Trial Brief

[AP Docket No. 90]; (b) Plaintiff’s arguments and contentions set forth in Highland’s Proposed

Findings of Fact and Conclusions of Law [AP Docket No. 91]; (c) the Joint Pretrial Order [AP

Docket No. 96] filed by the Parties; (d) the exhibits admitted into evidence during the Trial [AP

Docket No. 115]; (e) the credibility of the witnesses who testified during the Trial; (f) the

arguments presented by counsel during closing arguments held on April 27, 2022; and (g) all prior

proceedings arising in or concerning the claims asserted in the Adversary Proceeding, and for the

reasons set forth in the Findings of Fact and Conclusions of Law in Support of Judgment: (A)

Granting Breach of Contract Claims Asserted by the Reorganized Debtor; and (B) Denying

Defendants’ Request for Allowance of Administrative Expense Claims [AP Docket No. 124] (the

“Findings”) issued by the Court on August 30, 2022; the Court hereby enters the following final

judgment (the “Final Judgment”).

        IT IS ORDERED, ADJUDGED, AND DECREED as follows:



2
  See Stipulation (A) Amending Scheduling Order and (B) Consolidating and Resolving Certain Matters, Adv. Pro.
No. 21-03010-sgj, Docket No. 36 (references to the docket maintained in the Adversary Proceeding are hereafter
referred to as “AP Docket No. __”).



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        1.       HCMFA owes Highland the aggregate sum of $1,756,000, and Highland shall have

a money judgment against HCMFA in that amount.

        2.       NexPoint owes Highland the aggregate sum of $840,000, and Highland shall have

a money judgment against NexPoint in that amount.

        3.       All relief requested by the Defendants in the Application for Allowance of

Administrative Claim [Main Docket No. 1826], including with respect to (i) all alleged

overpayments and (2) all alleged breaches of contract by Highland, is denied and all claims that

were asserted or could have been asserted therein are dismissed with prejudice.

        4.       The amounts set forth to be paid in this Final Judgment shall bear interest, pursuant

to 28 U.S.C. § 1961, from the date of the entry of this Final Judgment, at a rate of 3.48 percent.

Interest shall be computed daily to the date of payment, except as provided in 28 U.S.C. § 2516(b)

and 31 U.S.C. § 1304(b), and shall be compounded annually.

                                   ### END OF JUDGMENT ###




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